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                                                                                   FILED
                                                                                U.S. DISTRICT COURT
                                                                            EASTERN DISTRICT ARKANSAS

                     IN THE UNITED STATES DISTRICT COURT                           AUG 1 9 2021
                         EASTERN DISTRICT OF ARKANSAS
                                                                           TAMMY H. DOWNS, CLERK
                                DELTA DIVISION
                                                                         By:      4ZP
                                                                                                  DEPCLERK
DONNA WILLARD and
PHILLIP DEWAYNE WILLARD,

      Plaintiffs,

v.                                                      Civil Action No. 2~-'Z.\ ---l'"-~ 00\Q'\ .. ~SM

WALMART STORES, INC.
and JOHN DOES.1-4,                              fh1s case assigned to District Judge U\Uti,
                                                                                 i____
                                                and to Magistrate Judge ___u_·....          ~
      Defendants.

                                      COMPLAINT

      COME NOW, Plaintiffs, Donna Willard ("Donna") and Phillip Dewayne Willard

("Phillip"); by and through undersigned counsel, and for cause of action against Walmart

Stores, Inc. and John Does 1-4, would show unto the Court the following, to-wit:

                                         PARTIES

       1.      Plaintiffs, Donna Willard and Phillip Dewayne Willard (hereinafter

sometimes referred to as "Plaintiff(s)"), are ad ult resident citizens of Clarksdale, Coahoma

County, Mississippi.

       2.       Defendant, WalmartStores, Inc. (hereinafter."Defendant" or "Walmart"), is

a foreign, for-profit corporation organized and existing pursuant to the laws of the State

of Delaware. At all times relevant hereto, Defendant was licensed to and doing business

within the State of Arkansas, with its principal office located at 702 SW 8th Street,

Bentonville, Arkansas 72716. On the day in question, Defendant owned, leased and/ or

operated Super Store #714 located at 602 Shelia St., West Helena, Arkansas 72390. As such,
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Defendant, Wa~mart was" doing business" within Phillips County, Arkansas on the day

in question. Defendant W almart may be served with process of this Court by service upon

it registered agent for service of process, namely CT Corporation System, 124 Capitol

Avenue,Suite1900, LittleRock,Arkansas72201. At all times relevant hereto, Walmartwas

engaged as a retail establishment operating for the use of the general public for the mutual

benefit of both Walmart and the general public.

       3.      Defendants, John Does 1-4, upon information and belief, may be owners/

lessors/ operators of Walmart Super Store #714, 602 Shelia St., West Helena, Arkansas at

the date and time of Donna Willard's trip and fall incident.

                              JURISDICTION AND VENUE

       4.      This Court has jurisdiction of the parties and the subject matter in. that the U.

S. District Courts have original jurisdiction, pursuant to 28 U.S. C. Section 1332, o_ver all

civil actions between citizens of different states, in this case Mississippi , Delaware and

Arkansas so long as the jurisdictional amount exceeds $75,000.00, which it does in this case.

       5.      Civil actions based on a tort of which the U.S. District Court has original

jurisdiction shall be commenced in the district in which a substantial alleged negligent act

or omission occurred or where a substantial event which proximately caused the injuries

occurred. Venue is proper in this district as the cause of action occurred or accrued within

Phillips County, Arkansas in this district and division.

                                            FACTS

       6.       On or about August 27, 2018, Plaintiff, Donna Willard ("Donna")was a


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customer and business invitee of Walmart Super Store #714 located at 602 Shelia St., West

Helena, Arkansas, which is owned and/ or operated by Defendant Walmart or John Does

1-4. While "Donna" was shopping in the Ladies Department and was looking at clothes

located on carousels within the department, she tripped on a pallet which was lying in

between the carousels.

       7.      At all times material hereto, there was no warning sign or any other markings

on, around or near the pallet notifying customers of its presence underneath the apparel-

laden carousel.

       8.      As a result of her trip and fail, "Oonna" suffered injuries to her head, hip and

lower back.

       9.      At all times material hereto, "Donna" was exercising due care for her safety

and the safety of others around her and was not guilty of any acts of negligence which

proximately caused-or contributed to cause her injuries.

                                          COUNTI

                       NEGLIGENCE AGAINST WALMART, INC.

                                             Duty

       10.      "Donna" hereby incorporates and re-alleges the allegations of paragraphs 1

thru 9, as if fully set ou~ herein.

       11.      At all material times hereto, Defendants Walmart or John Does 1-4 had a

duty to the public at l~rge, and to "Donna" in particular, as a business invitee present in

Defendant's premises to:


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              a.      exercise reasonable or ordinary care to keep its premises in a
                      reasonably safe condition or to warn· "Donna" and other business
                      invitees of dangerous conditions not readily apparent to them of
                      which the Defendant Walmart knew, or of which Defendants Walmart
                      or John Does 1-4 should have known, in its exercise of reasonable
                      care;

              b.      store and maintain its personalty including, but not limited to, its
                      equipment, particularly its pallets located on the premises in a
                      reasonably safe and responsible manner so as not to trip "Donna" and
                      other business invitees ; and

              c.      conduct reasonable inspections to discover dangerous conditions
                      existing on ·its premises, such as unmarked pallets left under apparel
                      carousels in the Ladies Department.

                                           Breach

       12.    "Donna" hereby incorporates and alleges the allegations of paragraphs 1-11,

as if fully set out herein.

       13.     Defendants Walmart or John Does 1-4 breached its duties owed to the general

public and to Donna and was negligent in its care, custody and control of its premises

when it failed to exercise reasona1?le and ordinary care to keep its premises in a reasonably

safe condition for "Donna" to look at and possibly purchase clothes. Defendant Walmart

was negligent when it failed properly to·retrieve and store any and all pallets left or placed

.on the floor under the Ladies' apparel carousels or was negligent in failing to otherwise

dispose of any storage pallets left on the floor of the Ladies Department. Had Walmart

properly stored its pallets, it would have prevented Donna's trip and fall over it/ them,

proximately causing severe and painful injuries to "Donna." Further, Defendants Walmart

or John Does 1-4 failed to place any "caution" or "warning" signs to warn "Donna" of the

placement of the pallet(s) under the apparel carousel(s) and the dangerous condition said

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pallet(s) presented, especially as notice of said pallet(s) was not open and obvious to

"Donna" and other business invitees.

      14.     Defendants W almart or John Does 1-4 knew of the dangerous conditions

created by the pallet)s) being left under the apparel carousel. Defendant W almart, through

its employee(s) actually created the dangerous condition by placing and/ or leaving the

pallet in an area known to be used by customers such as "Donna." Defendant Walmart

also should have known and would have discovered such conditions had it conducted a

reasonable inspection of the surrounding area of the apparel carousel under which the

pallet(s) was/ were found and/ or had been used in the Ladies' Department. Had Walmart

or John Does 1-4 maintained the Ladies' Dep.artment in a reasonably safe- and r~sponsible

manner to insure that the floor of the Ladies' Department was free and clear of any and all

pallets, obstructing hazards or debris. Because of Defendants Walmart' s or John Does 1-41s

active placement of the pallet and subsequent failure to conduct reasonable inspections of

the Ladies' Clothing area, it failed to maintain· a reasonably safe area in which "Donna"

and other business invitees could shop. This failure constituted a breach of its duties owed

to "Donna," as a business invitee. Walmart's or John Does 1-41s pallet was left unattended

on the floor of the Ladies' Department under an apparel carousel allowing it to trip

"Donna" causing "Donna" to suffer painful injuries to her head, hip, knees, and lower

back, a_s well as subsequent mental and emotional injuries.

                                    Medical Causation

       15.    "Donna" hereby incorporates the allegations of paragraphs 1-14 as if fully

copied herein.

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            16.    Because of Defendant W almart' s or Defendants John Does 1-4's breach of its

     aforementioned duties, "Donna" suffered painful injuries to her head, hip, knees, and

     lower back, and subsequent mental and emotional injuries.

                                              COUNT II

                  LOSS OF CONSORTIUM CLAIM AGAINST WALMART,JNC.

            17.    Plaintiff Donna and Co-Plaintiff Phillip hereby incorporate the allegations

    · of paragraphs 1-16, as if fully copied herein.

            18.    Prior to the negligent acts and omissions of Defendants Walmart or John Does

     1-4 in August, 2018, Plaintiff Donna and Co-Plaintiff Phillip were married and lived

     together as Husband and Wife, and continue today to be so married.

            19.    Prior to the negligent acts and omissions of Defendants Walmart or John Does

     1-4 which occurred on or about August 28, 2018, as alleged throughout Plaintiffs'

     Complaint, Plaintiff Donna and Co-Plaintiff Phillip did provide services to one another _and

     did perform all of the duties expected of a Husb_and and Wife, including, but not limited

     to, assisting in maintaining the home, providing love, companionship, affection, society,

     sexual relations, moral support anq. solace to each other.

            20.     Because of the negligent acts and omissions of Defendants Walmart or John

     Does 1-4 as alleged throughout Plaintiffs' Complaint, Plaintiff Donna and Co-Plaintiff

     Phillip are no longer able to provide the services and/ or to perform their previously-

     described duties as Husband and Wife, and have suffered and continue to suffer loss of the

     other's assistance in maintaining the home, loss of the other's consortium, and loss of the


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    other's love, companionship, affection, society, moral support and ·solace all to the

    detriment of their marital relations and relationship.

                                             Damages

           21.    As a direct and proximate result of the negligent acts and omissions by

    Defendants Walmart or John Does 1-4, Plaintiff Donna suffered painful bodily injuries,

    including, but not limited to, the following injuries:

                  a.      head injury;

                  b. ·    left hip injury;

                  c.      low back pain;

                  d.      both knees;

                  e.      mental" and emotional pain and suffering (past, present, and future);

                  f.     · medical expenses (past, present, and future); and

                  g.      physical pain and suffering (past, present, and future).

           22.    As a direct and proximate result of the negligent acts and omissions by

    Defendants Walmart or John Does 1-4, Co-Plaintiff Phillip suffered the loss of Donna's

    consortium, loss of Donna's assistance in maintaining their home, and loss of Donna's love,

    companionship, affection, society, moral support and solace, all to the detriment of both

    their marital relations and their marital relationship.

                         DAMAGES AND DEMAND FOR JURY TRIAL

           23.    As a direct and proximate result of Defendants W almart' s or John Does 1-4's

    negligent acts and fault, Plaintiff Donna is entitled to damages in the amount of $600,000.00


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    and Co-Plaintiff Phillip is entitled to damages in the amount of $200,000.00 as best as can

    be determined at this time, and to a trial by jury on all issues which the pleadings put

    before them as triers of the facts.

           WHEREFORE, Plaintiff, Donna Willard, demands a fair and reasonable judgment

    against Defendants, Walmart Stores, Inc. and/ or John Does 1-4, in a sum of money to be

    determined by the jury which sum will fully, fairly and justly compensate her for her past,

    present and future bodily injuries and damages, together with interest and all costs of this

    action and Co-Plaintiff, Phillip Willard, demands a fair and reasonable judgment against

, Defendants, Walmart Stores, Inc. and/ or John Does 1-4, in a sum of money to be

    determined by the jury which will fully, fairly and justly compensate him for his past,

    present and future loss/impairment of his wife, Donna's, consortium, services, love and

    affection damages, together with interest and all costs of this action.

           RESPECfFULLY SUBMITTED, t l t i ~ August, 2021_.____
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